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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §   Chapter 11 (Subchapter V)
                                                      §
FREE SPEECH SYSTEMS, LLC,                             §   Case No. 22-60043
                                                      §
         Debtor.                                      §
---------------------------------------------------   §

  AGENDA FOR HEARINGS SCHEDULED FOR SEPTEMBER 26, 2023, AT 2:00 P.M.
    (PREVAILING CENTRAL TIME), BEFORE JUDGE LOPEZ AT THE UNITED
   STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS,
        AT COURTROOM, 515 RUSK STREET, HOUSTON, TEXAS 77002

         Free Speech Systems, LLC (the “Debtor” or “FSS”), debtor and debtor-in-possession in

the above-referenced Chapter 11 cases, hereby files this agenda for matters set for hearing on

September 26, 2023, at 2:00 p.m. (prevailing Central Time).

Cash Collateral Motion

    1. Emergency Motion for Interim and Final Orders (I) Authorizing the Use of Cash Collateral
       Pursuant to Section 105, 361, and 363 of the Bankruptcy Code and Federal Rule of
       Bankruptcy Procedure 4001(b) and (II) Granting Adequate Protection to the Pre-Petition
       Secured Lender. [Dkt. No. 6]

             Related documents:

             a. Proposed Order – Sixteenth Interim Order [Dkt. No. 723]

             Status:

             Going forward. No known outstanding comments or opposition to the proposed form
             of order.

Other Matters

         1. Stipulation By Alex E Jones and Freedom Speech Systems, LLC and Elevated
            Solutions Group, LLC [Dkt. No. 721]

         2, Advisory to the Court Regarding FSS Debtor-in-Possession Bank Accounts




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon all
parties registered to receive notices via the Court’s ECF noticing system on this 26th day of
September 2023.

                                                     /s/ Ray Battaglia
                                                     Raymond W. Battaglia




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